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12
                         IN THE UNITED STATES DISTRICT COURT
13
                FOR THE NORTHERN DISTRICT OF CALIFORNIA
14    OCTAVIO BECERRA,               Case No. 11-04936 EJD HRL
15
                 Plaintiff.
                                     STIPULATION OF DISMISSAL
16           v.                      PURSUANT TO F.R.C.P. 41(a)(1)
17
      GREEN TREE SERVICING, LLC.
18    KUBLER CORPORATION, a California
19
      Corporation dba ALTERNATIVE
      RECOVERY MANAGEMENT;
20    SYNERGETIC COMMUNICATIONS,
      INC., and DOES 1-10, inclusive,
21
                      Defendants.
22

23

24
            IT IS HEREBY STIPULATED by and between Plaintiff and Defendants, through
25
     their respective counsel of record, that the above-entitled action shall be dismissed in its
26

27   entirety, with prejudice, pursuant to Rule 41(a)(1) of the Federal Rules of Civil
28
     Procedure. Each party shall bear its own costs and expenses.
                                                         1
                                         STIPULATION OF DISMISSAL
                                 Octavio Becerra v. Green Tree Servicing, LLC.et.al.
                                            Case No. CV11-04936 EJD
              Case 5:11-cv-04936-EJD Document 51 Filed 04/18/12 Page 2 of 2




 1
     SO STIPULATED

 2
                                                 LAW OFFICE OF BALÁM O. LETONA, INC.
 3

 4

 5   Dated: April 18, 2012                              /s/
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                                     STIPULATION OF DISMISSAL
                             Octavio Becerra v. Green Tree Servicing, LLC.et.al.
                                        Case No. CV11-04936 EJD
